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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )        CRIMINAL NO. 18-4176 JB
                                                )
      vs.                                       )
                                                )
STERLING ISLANDS, et al.,                       )
                                                )
               Defendants.                      )


             NOTICE OF INTENT TO OFFER EXPERT WITNESS TESTIMONY
        The United States of America (hereinafter, the “United States”) hereby gives notice to

the defendants, pursuant to Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid. 702, 703, and 705,

that the United States intends to offer certain expert witness testimony in its case-in-chief at trial.

                                     Testimony of Liz Wallace

        Ms. Wallace is a professional Native American artist who has created handmade silver

jewelry for more than 20 years, including earrings, pendants, and bracelets. She is known for

making jewelry with classic designs such as turquoise butterflies. Ms. Wallace has sold her

jewelry at the Santa Fe Indian Market, the Wheelwright Museum, and at various galleries and

shops in Santa Fe, Albuquerque, Shiprock, and other locations. She has also sold her jewelry

nationally and internationally over the internet.      Ms. Wallace is qualified by knowledge,

skill, experience, training, and education as an expert in Native American jewelry, arts and

crafts. She is extremely familiar with traditional Native American design motifs, materials,

and construction. Ms. Wallace is also extremely familiar with the production of Native

American jewelry, arts and crafts by particular Indians, Indian tribes, and Indian arts and crafts

organizations in the United States. In particular, she is familiar with Navajo and Zuni jewelry,
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arts, and crafts. Ms. Wallace will testify by opinion and otherwise about the Native American-

style jewelry in this case, including how it incorporates traditional Native American design

motifs, materials, and construction and therefore looks like, and could be mistaken for, jewelry,

arts, and crafts made by Native Americans.

                                         Testimony of Ira Wilson


       Mr. Wilson is currently the executive director of the Santa Fe Indian Market, the largest

and most prestigious juried Native American arts show in the world. He organizes this event in

collaboration with artists, members, sponsors, and attendees. Mr. Wilson also has more than

twenty-five years of experience in purchasing and retail sales of Native American jewelry, arts

and crafts. He has managed the gift shop at the Indian Pueblo Cultural Center in Albuquerque

where he worked closely with local indigenous artists.


       Mr. Wilson is qualified by knowledge, skill, experience, training, and education as an

expert in Native American jewelry, arts and crafts. He is extremely familiar with traditional

Native American design motifs, materials, and construction. Mr. Wilson is also extremely

familiar with the production of Native American jewelry, arts and crafts by particular Indians,

Indian tribes, and Indian arts and crafts organizations in the United States. In particular, he is

familiar with Navajo and Zuni jewelry, arts, and crafts. Mr. Wilson will testify by opinion and

otherwise about the Native American-style jewelry in this case, including how it incorporates

traditional Native American design motifs, materials, and construction and therefore looks like,

and could be mistaken for, jewelry, arts, and crafts made by Native Americans.




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        Testimony of Dr. Ed Espinoza


       Dr. Ed Espinoza is expected to testify about his comparison of FA4U Philippines

manufactured jewelry seized from Sterling Islands and from Al Zuni with jewelry purchased

from various retail stores that purchased Sterling Islands jewelry and sold it or offered it for sale

as Indian made. Dr. Espinoza is expected to testify about his comparison of the stones and

wildlife shells used in the jewelry, the metal, and the stamping in the metal. Dr. Espinoza is

expected to testify based on his examination of these materials using photomicrography,

analyzing microstructures, microscopic viewing, and scanning electron microscope. Upon

completion of the examination, Dr. Espinoza is expected to testify to his conclusion that the

jewelry has the same class characteristics, are not dissimilar in any measurable manner, and

likely came from the same origin.


        These expert witnesses may testify to certain hypothetical questions presented to them by

 the prosecution. This is clearly permissible under Fed. R. Evid. 703. See United States v.

 Mendoza, 236 F.App’x 371 (10th Cir. 2007); Atwood v. Union Pacific Railroad Company, 933

 F.2d 1019 (10th Cir. 1991).


                                                       Respectfully submitted:


                                                       JOHN C. ANDERSON
                                                       United States Attorney

                                                       /s/ Filed electronically______
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I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused the opposing party of record to be
served by electronic means, as reflected on the Notice
of Electronic Filing, and other methods of service as
indicated therein on June 5, 2019:

   /s/
Sean J. Sullivan
Assistant United States Attorney




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